                                              United States Department of Justice

                                              United States Attorney
                                              Northern District of New York

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                                              June 27, 2024

Hon. Mae A. D’Agostino
U.S. District Judge
James T. Foley U.S. Courthouse
445 Broadway Albany, NY

       Re:    United States v. White
              1:23-cr-461 (MAD)

Dear Judge D’Agostino:

     The defendant is scheduled for a sentencing hearing on July 23, 2024, and sentencing
memoranda are currently due on July 2, 2024. See Dkt. 39 Text Order.

       The government respectfully requests that sentencing be adjourned 45 days and that the
deadline for submitting sentencing memoranda be adjusted accordingly. I have consulted with
counsel for the defendant, and he does not object to this request.

                                              Respectfully,

                                              CARLA B. FREEDMAN
                                              United States Attorney

                                              /s/ Michael D. Gadarian
                                       By:
                                              Michael D. Gadarian
                                              Assistant United States Attorney
                                              Bar Roll No. 517198




cc. Counsel of record (via CM/ECF)
